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                      UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF NEW YORK

GOVERNMENT OF THE UNITED               )
STATES VIRGIN ISLANDS                  )
                                       )
      Plaintiff,                       )
                                       )
      v.                               )              Case Number: 1:22-cv-10904-JSR
                                       )
JPMORGAN CHASE BANK, N.A.              )
                                       )
      Defendant/Third-Party Plaintiff. )
____________________________________)
                                       )
JPMORGAN CHASE BANK, N.A.              )
                                       )
      Third-Party Plaintiff,           )
                                       )
      v.                               )
                                       )
JAMES EDWARD STALEY                    )
                                       )
      Third-Party Defendant.           )
____________________________________)

                  DECLARATION OF MIMI LIU IN SUPPORT OF
             GOVERNMENT OF THE UNITED STATES VIRGIN ISLANDS’
                 MOTION FOR PARTIAL SUMMARY JUDGMENT

       Pursuant to 28 U.S.C. § 1746, I, Mimi Liu, declare under penalty of perjury as follows:

       1.      I am a member in good standing of the bars of the State of New York and the

District of Columbia. I am one of the attorneys representing the Government of the United States

Virgin Islands in the above-captioned action and have been admitted to this Court pro hac vice. I

am a Member of the law firm of Motley Rice LLC, 401 9th Street NW, Suite 630, Washington,

DC 20004. I am familiar with the facts set forth herein and if called as a witness, I could and would

competently testify thereto. I submit this declaration and the attached Exhibits in support of the

United States Virgin Islands’ Motion for Partial Summary Judgment.
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